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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )                 4:16CR3038-3
                                       )
            v.                         )
                                       )
MARILYN M. PRADO,                      )                   ORDER
                                       )
                  Defendant.           )
                                       )


     IT IS ORDERED that the plaintiff’s motion to dismiss criminal case against
Defendant Marilyn M. Prado (filing no. 212) is granted without prejudice.

      DATED this 3rd day of March, 2017.

                                      BY THE COURT:

                                      s/ Richard G. Kopf
                                      Senior United States District Judge
